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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DIS'I`RICT OF I)ELAWARE

 

In re: Chapter 15

Crystallex International Corporation,l Case No. 1 1-14074 (PJW)

Debtor in a Foreign Proceeding. Re: DI No. 60

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LIMITED OBJECTION OF COMPUTERSHARE TRUST COMPANY OF CANADA, AS
IN])ENTURE 'I`RUSTEE FOR HOLDERS OF 9.375% SENIOR NOTES, TO THE
DEBTOR’S MOTION FOR ORDER RECOGNIZING AND ENFORCING THE
PROPOSED CCAA FINANCING ORDER OF THE CANADIAN COUR'I`

Computershare Trust Cornpany of Canada, in its capacity as lndenture Trustee2 (the
“Indenture Trustee”) for the Holders of 9.375% Senior Unsecured Notes (the “_S_e_ni_or
Noteholders”) of Crystallex International Corporation (the “Foreign Representative” or
“DM”), on behalf of the Senior Noteholders, submits this objection (the “Limited Ob]`ection”)
to the Debtor’s motion (“_MotM”) [D.I. No. 60] for an order (the “U.S. Financing Order”),
recognizing and giving effect in the United States to a proposed form of order presented to the
Canadian court (the “CCAA Financing Order”) [D.I. 84], purporting to authorize, among other
things, the Debtor to enter into and perform under that certain proposed Senior Secured Credit
Agreement (the “DIP Credit Agreement”) in favor of a proposed lender (the “DIP Lender”) [D.I.
No. 84].

To date, the Canadian court has not entered any CCAA Financing Order, either in the
form proposed by the Debtor or otherwise, because it has reserved its decision after a contested

hearing in Canada. Accordingly, as of the date hereof, the Indenture Trustee has only the

 

The last four digits of the Debtor’s United States taxpayer identification number is 2628. The Debtor’s
executive headquarters are located at 18 King Street East, Suite lZlO, Toronto, Ontario, Canada M5C~l C4.

Capitalized terms used herein but not otherwise defined herein shall have the meanings ascribed to such terms
in the Debtor’s Motion.

 

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proposed CCAA Financing Order filed on the docket, and not the actual order entered by the
Canadian court.

In support of this Limited Objection, the Indenture Trustee respectfully represents as
follows:

BACKGROUND

1. The Senior Noteholders are primarily funds managed by U.S.~based investment
advisors that hold approximately $100 million in senior unsecured notes issued by the Debtor
with a maturity date of December 23, 2011. [D.I. No. 2] (Fung Decl., at 1111 18, 20). 0n the
maturity date, the Debtor initiated the Canadian Proceeding and this chapter 15 case (the
“Chapter 15 Case”) to have this Court recognize the Canadian Proceeding as a “foreign main
proceeding,” among other things.

2. On January 20, 2012, this Court entered an order (the “Recognition Order”)
recognizing the Canadian Proceeding as a foreign main proceeding under section 1517 of the
Bankruptcy Code. [D.I. 44]

3. On April 5, 2012, the Canadian court heard two motions by the Debtor for the
approval of (a) the proposed DIP Financing submitted by Tenor and (b) a proposed management
incentive plan (the “l\/I_IB”) that, if approved, would give members of the Debtor’s senior
management bonuses from a pool of up to 10% of the proceeds of the Company’s arbitration
against Venezuela.

4. Upon information and belief, unlike most management incentive plans that give a
substantial percentage of equity of the Debtor to members of senior management, the Debtor’s
proposed MIP was not submitted in connection with an overall restructuring subject to votes of

creditors in either Canada or the United States. The Indenture Trustee does not know if the MIP

 

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complies with section 503(c) of the Bankruptcy Code or if the Debtor intends to seek approval of
the l\/IIP in this Court upon approval (if at all) of the Canadian Court.

5. Pursuant to the proposed CCAA Financing Order submitted by the Debtor,
aspects of the Debtor’s proposed l\/lIP still under consideration by the Canadian court are
incorporated therein. See CCAA Financing Order, jj 13 [D.I. 84].

6. As of the filing of this Limited Objection, the Canadian court has not yet
approved a debtor in possession financing, entered any proposed CCAA Financing Order, or
entered any order approving the MIP.

7. As indicated in the Agenda Letter for this hearing [D.l. 91], the Debtor and the
Indenture Trustee reached an agreement in principle to small changes to the proposed form of
U.S. Financing Order, subject to review by the Indenture Trustee’s counsel. To date, however,
the Indenture Trustee’s counsel has not been sent a revised form of the U.S. Financing Order
reflecting these changes A request by the Indenture Trustee to further extend the objection
deadline to the Motion pending review of the revised form of order was denied by the Debtor.
Aocordingly, the Indenture Trustee submits this Limited Obj ection to preserve its rights.

LIMITE]) ()BJECTION

8. The Debtor has filed this Motion seeking approval in the U.S. of the above-
referenced proposed CCAA Financing Grder. However, as of the date hereof, the Canadian
court has not yet entered an order approving the DIP Financing. Given the contested nature of
the hearing on April 5, 2012, it is not clear that the Canadian court will (a) approve the proposed
DIP Financing or proposed DIP Lender, (b) enter the form of CCAA Financing Order submitted
to this Court, or (c) approve the MIP (which, as indicated, is incorporated into portions of the

CCAA Financing Order).

 

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9. First, the Indenture Trustee reserves all rights to review and submit a further
objection to the ultimate financing order entered (if any) by the Canadian court to the extent it
materially deviates from the proposed form of CCAA Financing Order.

10. Second, the Indenture Trustee objects to the hearing scheduled for Thursday
going forward at all if the Canadian court has not (a) rendered a ruling with respect to the
Debtor’s motion to approve the DIP Financing or (b) entered an order that’s materially different
than the proposed CCAA Financing Order. It makes no sense for the Court to consider entry of
an order authorizing enforcement of a Canadian order that has not yet been approved or entered.

11. Third, the Indenture Trustee reserves certain rights with respect to aspects of the
proposed form of U.S. Financing Order (if and to the extent the proposed CCAA Financing
Order is approved by the Canadian Court in substantially the form submitted to this Court by the
Debtor) and the MIP which is currently under consideration by the Canadian court. Specifically,
the Indenture Trustee would like to replace the language in paragraph 10 of the proposed U.S.
Financing Order with the following:

Entry of this Order shall not prejudice any rights, to the extent such rights exist, of any

party in interest to seek relief before (a) any court of competent jurisdiction to appeal

entry of the CCAA Financing Order or any order entered by the Canadian Court
approving a management incentive plan for the Debtor (such order, the “MIP Order”) or

(b) this Court or another court of competent jurisdiction if the CCAA Financing Order or

the MIP Order is subsequently reversed or modified upon appeal; provided, that, nothing

herein shall, or shall be deemed to, limit or impair the protections and benefit of section

364(€) of the Bankruptcy Code granted to the DIP Lender by this Grder, including,

without limitation, in paragraph 9 hereof.

 

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Additionally, the Indenture Trustee would like the following language added to the proposed

U.S. Financing Order:

In the event the Foreign Representative seeks entry of an Order by this Court approving

and/or recognizing the MIP Grder, the rights of parties in interest with requisite standing

to object to such Order, including, without limitation, the Indenture Trustee, are hereby

preserved; provided, however, that nothing herein shall, or shall be deemed to require the

foreign representative to seek entry of such an order.

WHEREFORE, the Indenture Trustee respectfully requests that this Court grant the

relief requested in this Limited Objection and such other or further relief as is just.

Dated: April 10, 2012
Wilrnington, Delaware

CROSS & Sll\/ION, LLC

By: U/ti)L/,/

 

Christopher P. Simon (No. 3697)
David G. Holmes (No. 4718)

913 North l\/[arket Street, llth Floor
P.O. Box 1380

Wilrnington, Delaware 19899-1380
Telephone: (302) 777-4200
Facsimile: (302) 777-4224

and

Matthew K. Kelsey, Esquire
Andrew Keats, Esquire
Gibson, Dunn & Crutcher LLP
200 Park Avenue

New York, NY 10166-0193
Telephone: (212) 35 1-261 5
Facsimile: (212) 351-6351

Counsel to the Computershare Trust
Company of Canada, as Indenture Trustee

 

